Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 1 of 8 PagelD #:39

EXHIBIT A
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 2 of 8 PagelD #:40

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

_ KeyCite Yellow Flag - Negative Treatment

Declined to Extend by Bynum v. MaplebearInc., E.D.N.Y., February
12, 2016
796 F.3d 199
United States Court of Appeals,
Second Circuit.
Dorian CHEEKS, Plaintiff—Appellant, [2]
Vv

FREEPORT PANCAKE HOUSE, INC., W.P.S.
Industries, Inc., Defendants—Appellees.

Docket No. 14-299—cv.
Argued: Nov. 14, 2014.

|
Decided: Aug. 7, 2015.

Synopsis

Background: Former employee brought action against
former employer under Fair Labor Standards Act (FLSA)
and New York Labor Law. The United States District Court
for the Eastern District of New York, Joanna Seybert, J.,
refused to enter parties’ stipulation of settlement dismissing,
with prejudice, former employee's FLSA claims. Former
employee filed interlocutory appeal, seeking certification of
question of whether FLSA actions are exception to general
rule that parties may stipulate to dismissal of an action without
involvement of court.

|Holding:] The Court of Appeals, Pooler, Circuit Judge, held

that, as a matter of first impression the FLSA is an “applicable 4]
federal statute,” for purposes of the rule governing voluntary
dismissal of an action by a plaintiff, and therefore stipulated
dismissals settling FLSA claims with prejudice require the
approval of the district court or the Department of Labor

(DOL) to take effect.

Affirmed; remanded.

West Headnotes (6) [5]

1H Labor and Employment

%= Waiver and estoppel
Employees may not waive the right to recover
liquidated damages due under the Fair Labor
Standards Act (FLSA). Fair Labor Standards Act
of 1938, § 1 et seq., 29 U.S.C.A. § 201 et seq.

6 Cases that cite this headnote

Labor and Employment
#» Compromise and settlement

Employees may not privately settle the issue
of whether an employer is covered under the
Fair Labor Standards Act (FLSA). Fair Labor
Standards Act of 1938, § 1 et seq., 29 U.S.C.A.
§ 201 et seq.

5 Cases that cite this headnote

Federal Civil Procedure

a Stipulations
The Fair Labor Standards Act (FLSA) is an
“applicable federal statute,” for purposes of the
rule governing voluntary dismissal of an action
by a plaintiff, and therefore stipulated dismissals
settling FLSA claims with prejudice require the
approval of the district court or the Department
of Labor (DOL) to take effect. Fair Labor
Standards Act of 1938, § 1 et seq., 29 US.C.A.
§ 201 et seq.; Fed-Rules Civ.Proc.Rule 41 (acl)
(A), 28 ULS.C.A.

32 Cases that cite this headnote

Labor and Employment
@» Fair Labor Standards Act

The underlying purposes of the Fair Labor
Standards Act (FLSA) is to extend the frontiers
of social progress by insuring to all able-bodied.
working men and women a fair day's pay for
a fair day's work. Fair Labor Standards Act of
1938, § 1 et seq., 29 US.C_A. § 201 et seq.

3 Cases that cite this headnote

Labor and Employment
= Fair Labor Standards Act

 

 
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 3 of 8 PageID #:41

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

The Fair Labor Standards Act (FLSA) was
designed to remedy the evil of overwork by
ensuring workers were adequately compensated
for long hours, as well as by applying financial
pressure on employers to reduce overtime. Fair
Labor Standards Act of 1938, § I et seq., 29
ULS.C.A. § 201 et seq.

Cases that cite this headnote

[6] Labor and Employment
se» Fair Labor Standards Act

The Fair Labor Standards Act's (FLSA) primary
remedial purpose is to prevent abuses by
unscrupulous employers, and to remedy the
disparate bargaining power between employers
and employees. Fair Labor Standards Act of
1938, § 1 et seq., 29 U.S.C_A. § 201 et seq.

3 Cases that cite this headnote

Attorneys and Law Firms

*200 Abdul Hassan, Queens Village, N.Y., for Plaintiff
Appellant Dorian Cheeks.

Jeffrey Meyer, Kaufman, Dolowich & Voluck, LLP (Keith
Gutstein, on the brief), Woodbury, N.Y., for Defendants—
Appellees Freeport Pancake House, Inc. and W-P.S.
Industries, Inc.

Laura Moskowitz, Senior Attorney, U.S. Department of
Labor, Office of the Solicitor, (M. Patricia Smith, Solicitor of
Labor, Jennifer S. Brand, Associate Solicitor, Paul L. Frieden,
Counsel for Appellate Litigation, on the brief), Washington,
D.C., for Amicus Curiae U.S. Department of Labor.

Before: POOLER, PARKER and WESLEY, Circuit Judges.
Opinion
POOLER, Circuit Judge:

**] Dorian Cheeks appeals, pursuant to 28 U.S.C. §
1292(b), from the refusal of the United States District Court
for the Eastern District of New York (Joanna Seybert, J.) to
enter the parties’ stipulation of settlement dismissing, with
prejudice, Cheeks’ claims under the Fair Labor Standards Act
(“FLSA”) and New York Labor Law. The district court held

that parties cannot enter into private settlements of FLSA
claims without either the approval of the district court or the
Department of Labor (“DOL”). We agree that absent such
approval, parties cannot settle their FLSA claims through a
private stipulated dismissal with prejudice pursuant to Federal
Rule of Civil Procedure 41(a)(1)(A)(i). We thus affirm, and
remand for further proceedings consistent with this opinion.

BACKGROUND

Cheeks worked at both Freeport Pancake House, Inc. and
W.P:S. Industries, Inc. (together, “Freeport Pancake House’’)
as a restaurant server and manager over the course of several
years. In August 2012, Cheeks sued Freeport Pancake House
seeking to recover overtime wages, liquidated damages and
attorneys’ fees under both the FLSA and New York Labor
Law. Cheeks also alleged he was demoted, and ultimately
fired, for complaining about Freeport Pancake House's failure
to pay him and other employees the required overtime wage.
Cheeks sought back pay, front pay in lieu of reinstatement,
and damages for the unlawful retaliation. Freeport Pancake

‘House denied Cheeks’ allegations.

After appearing at an initial conference with the district
court, and engaging in a period of discovery, the parties
agreed on a private settlement of Cheeks' action. The parties
then filed a joint stipulation and order of dismissal with
prejudice pursuant to Rule 41(a)(1)(A)i). Cheeks v. Freeport
Pancake House, Inc., No. 2:12—cv—04199 (E.D.N.Y. Dec. 27,
2013) ECF No. 15. The district court declined to accept the
stipulation as submitted, concluding that Cheeks could not
agree to a private settlement of his FLSA claims without
either the approval of the district court or the supervision
of the DOL. The district court directed the parties to “file
a copy of the settlement agreement on the public docket,”
and to “show cause why the proposed settlement reflects
a reasonable compromise of disputed issues rather than
a mere waiver of statutory rights brought about by an
employer's overreaching.” App'x at 35 (internal quotation
marks omitted). The district court further ordered *201 the
parties to “show cause by providing the Court with additional
information in the form of affidavits or other documentary
evidence explaining why the proposed settlement is fair and
reasonable.” App'x at 35.

Rather than disclose the terms of their settlement, the parties
instead asked the district court to stay further proceedings and
to certify, pursuant to 28 U.S.C. § 1292(b), the question of

 

 
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 4 of 8 PagelD #:42

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

whether FLSA actions are an exception to Rule 41(a)(1)(A)
(i's general rule that parties may stipulate to the dismissal of
an action without the involvement of the court. On February
20, 2014, the district court entered an order staying the
case and certifying the question for interlocutory appeal.
Our Court granted the motion. Cheeks v. Freeport Pancake
House, Inc., 14-299-cv (2d Cir. May 7, 2014), ECF No. 44,
Our Court heard oral argument on November 14, 2014. As
both parties advocated in favor of reversal, following oral
argument we solicited the views of the DOL on the issues
raised in this matter. The DOL submitted a letter brief on
March 27, 2015, taking the position that the FLSA falls within
the “applicable federal statute” exception to Rule 41{a)(1)
(A), such that the parties may not stipulate to the dismissal
of FLSA claims with prejudice without the involvement of a
court or the DOL.” Cheeks submitted supplemental briefing
in response to the DOL's submission on April 20, 2015, and
we find no need for additional oral argument.

DISCUSSION

**2 The current appeal raises the issue of determining
whether parties may settle FLSA claims with prejudice,

without court approval or DOL supervision under Federal
Rule of Civil Procedure 41 (a)(L)(A}(ii). The question of
whether judicial approval of, and public access to, FLSA
settlements is required is an open one in our Circuit. > We
review this question of law de novo. See Cmty. Health Care
Ass'n of N.Y. v. Shah, 770 F.3d 129, 150 (2d Cir.2014).

Rule 41(@)(1)(A) provides in relevant part that:

Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any
applicable federal statute, the plaintiff may dismiss an
action without a court order by filing:

(i) a notice of dismissal before the opposing party serves
either an answer or a motion for summary judgment;
or

(ii) a stipulation of dismissal signed by all parties who
have appeared.

Fed.R.Civ.P. 41(a)(1)(A).

The FLSA is silent as to Rule 41. We must determine, then,
if the FLSA is an “applicable federal statute” within the
meaning of the rule. If it is not, then Cheeks' case was
dismissed by operation of Rule 41 (a)(1}(A){ii), and the parties

did not need approval from the district court for the dismissal
to be effective. Hester Indus., Inc. v. Tyson Foods, Inc.,
160 F.3d 911, 916 (2d Cir.1998) (“The judge's signature on
the stipulation did not change the nature of the dismissal.
Because the dismissal *202 was effectuated by stipulation
of the parties, the court lacked the authority to condition [the]
dismissal....”) (collecting cases).

We start with a relatively blank slate, as neither the Supreme
Court nor our sister Circuits have addressed the precise
issue before us. District courts in our Circuit, however, have
grappled with the issue to differing results. Those requiring
court approval of private FLSA settlements regularly base
their analysis on a pair of Supreme Court cases: Brooklyn
Savings Bank v. O'Neil, 324 US. 697, 65 S.Ct. 895, 89 L.Ed.
1296 (1945) and D.A. Schulte, Inc. v. Gangi, 328 U.S. 108,
66 S.Ct. 925, 90 L-Ed. 1114 (1946).

Brooklyn Savings involved a night watchman who worked at
Brooklyn Savings Bank for two years. 324 U.S. at 699, 65
S.Ct. 895. The watchman was entitled to overtime pay for
his work, but was not compensated for his overtime while he
worked for the bank. Jd. at 700, 65 S.Ct. 895. The watchman
left the bank's employ, and two years later the bank computed
the statutory overtime it owed him and offered the watchman
a check for $423.16 in exchange for a release of all his FLSA
rights. Id. The watchman signed the release, took the check,
and then sued the bank for liquidated damages pursuant to the
FLSA, which were admittedly not included in the settlement.
Id.

The Supreme Court held that in the absence of a genuine
dispute as to whether employees are entitled to damages,
employees could not waive their rights to such damages in a
private FLSA settlement. /d at 704, 65 S.Ct. 895. Because
the only issue before the court was the issue of liquidated
damages, which were a matter of statutory calculation, the
Court concluded that there was no bona fide dispute between
the parties as to the amount in dispute. /d. at 703, 65 S.Ct. 895,
The Court noted that the FLSA's legislative history “shows
an intent on the part of Congress to protect certain groups
of the population from substandard wages and excessive
hours which endangered the national health and well-being
and the free flow of goods in interstate commerce.” Jd. at
706, 65 S.Ct. 895. In addition, the FLSA “was a recognition
of the fact that due to the unequal bargaining power as
between employer and employee, certain segments of the
population required federal compulsory legislation to prevent
private contracts on their part which endangered national

 

 
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 5 of 8 PagelD #:43

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

health and efficiency and as a result the free movement of
goods in interstate commerce.” /d. at 706-07, 65 S.Ct. 895.
Concluding that the FLSA's statutory language indicated that
“Congress did not intend that an employee should be allowed
to waive his right to liquidated damages,” the Court refused
to enforce the release and allowed the watchman to proceed
on his claim for liquidated damages. /d. at 706, 65 S.Ct, 895,
However, the Court left unaddressed the issue of whether
parties could privately settle FLSA claims if such settlements
resolved “a bona fide dispute between the parties.” Id. at 703,
65 S.Ct. 895.

**3 A year later, in D.A. Schulte, the Supreme Court
answered that question in part, barring enforcement of private
settlements of bona fide disputes where the dispute centered
on whether or not the employer is covered by the FLSA. 328
U.S. at 114, 66 S.Ct. 925. Again, the Supreme Court looked
to the purpose of the FLSA, which “was to secure for the
lowest paid segment of the nation's workers a subsistence
wage,” and determined “that neither wages nor the damages
for withholding them are capable of reduction by compromise
of controversies over coverage.” /d. at 116, 66 S.Ct. 925.
However, the Supreme Court again specifically declined to
opine as to “the possibility of compromises in other situations
which may *203 arise, such as a dispute over the number of
hours worked or the regular rate of employment.” /ed, at 114—
15, 66 S.Ct, 925.

fi] [2]
employees may not waive the right to recover liquidated
damages due under the FLSA; and (2) that employees may
not privately settle the issue of whether an employer is
covered under the FLSA. These cases leave open the question
of whether employees can enforce private settlements of
FLSA claims where there is a bona fide dispute as to
liability, i.e., the number of hours worked or the amount of
compensation due. In considering that question, the Eleventh
Circuit answered “yes,” but only if the DOL or a district
court first determines that the proposed settlement “is a fair
and reasonable resolution of a bona fide dispute over FLSA
provisions.” Lynn's Food Stores, Inc. v. United States Dep't

of Labor, 679 F.2d 1350, 1355 (1 Ith Cir. 1982), 3

In Lynn's Food, an employer sought a declaratory judgment
that the private settlements it had entered into with its
employees absolved it of any future liability under the FLSA.

the DOL found the employer “was liable to its employees
for back wages and liquidated damages,” id. at 1352, but

Brooklyn Savings and Gangi establish that (1)

were not made with DOL approval. The putative settlements
paid the employees far less than the DOL had calculated the
employees were owed.

In rejecting the settlements, the Eleventh Circuit noted that
“FLSA rights cannot be abridged by contract or otherwise
waived because this would nullify the purposes of the
statute and thwart the legislative policies it was designed to
effectuate.” Jd. (internal quotation marks omitted), The court
reasoned that requiring DOL or district court involvement
maintains fairness in the settlement process given the
great disparity in bargaining power between employers and
employees. Jd. The Eleventh Circuit noted that the employer's
actions were “a virtual catalog of the sort of practices which
the FLSA was intended to prohibit.” Jd. at 1354. For example,
the employees had not brought suit under the FLSA and
were seemingly “unaware that the Department of Labor had
determined that Lynn's owed them back wages under the
FLSA, or that they had any rights at all under the statute.”
Id. Despite that, the employer “insinuated that the employees
were not really entitled to any back wages,” and suggested
“that only malcontents would accept back wages owed them
under the FLSA.” Jd. The employees were not represented
by counsel, and in some cases did not speak English. Jd. The
Eleventh Circuit noted that these practices were “illustrative
of the many harms which may occur when employers are
allowed to ‘bargain’ with their employees over minimum
wages and overtime compensation, and convinces us of the
necessity of a rule to prohibit such invidious practices.” Jd.

at 1354-55, 4

*204 **4 The Fifth Circuit, however, concluded that a
private settlement agreement containing a release of FLSA
claims entered into between a union and an employer waived
employees’ FLSA claims, even without district court approval
or DOL supervision. Martin v. Spring Break #83 Prods.,
LLC. 688 F.3d 247, 253-57 (Sth Cir.2012). In Martin,
the plaintiffs were members of a union, and the union
had entered into a collective bargaining agreement with the
employer. /d, at 249. The plaintiffs filed a grievance with
the union regarding the employer's alleged failure to pay
wages for work performed by the plaintiffs. Jd. Following
an investigation, the union entered into an agreement with
the employer settling the disputed compensation for hours
worked. /d. However, before the settlement agreement was
executed, the plaintiffs sued, seeking to recover unpaid wages
pursuant to the FLSA. /d. at 249-50,

 

 
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 6 of 8 PageID #:44

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

The Fifth Circuit concluded that the agreement between
the union and employer was binding on the plaintiffs and
barred the plaintiffs from filing a FLSA claim against the

exception from the general rule barring employees' waiver of
FLSA claims and adopted the rationale set forth in Martinez
¥. Bohls Bearing Equipment Co., 361 F.Supp.2d 608, 633
(W.D.Tex,.2005) (“[A] private compromise of claims under
the FLSA is permissible where there exists a bona fide
dispute as to liability.”). The Fifth Circuit reasoned that
“[t]he Settlement Agreement was a way to resolve a bona
fide dispute as to the number of hours worked—not the
rate at which Appellants would be paid for those hours—
and though Appellants contend they are yet not satisfied,
they received agreed-upon compensation for the disputed
number of hours worked.” Martin, 688 F.3d at 256. The
Fifth Circuit noted that the concerns identified in Lynn's
Food—unrepresented workers unaware of their FLSA rights
~~“ were] not implicated.” /d. at 256 n. 10, Martin, however,
cannot be read as a wholesale rejection of Lynn's Food: it
relies heavily on evidence that a bona fide dispute between
the parties existed, and that the employees who accepted the
earlier settlement were represented by counsel. /d. at 255, 256
n. 10; Bodle v. TXL Mortg. Corp., 788 F.3d 159, 165 (5th
Cir.2015) (emphasizing that the private settlements approved
in Martin did not “undermine the purpose of the FLSA
because the plaintiffs did not waive their claims through some
sort of bargain but instead received compensation for the
disputed hours”).

While offering useful guidance, the cases discussed above all
arise in the context of whether a private FLSA settlement is
enforceable. The question before us, however, asks whether
the parties can enter into a private stipulated dismissal of
FLSA claims with prejudice, without the involvement of the
district court or DOL, that may later be enforceable. The
parties do not cite, and our research did not reveal, any cases
that speak directly to the issue before us: whether the FLSA
is an “applicable federal statute” within the meaning of Rule
41(a)(1)(A). Nor are we aided by the Advisory Committee's
notes, which simply state that the language “any applicable
federal statute” serves to “preserve” provisions in “such
statutes as” 8 U.S.C. § 1329 (immigration violations) and
31 U.S.C. § 3730 (qui tam actions), both of which explicitly
require court approval before dismissal. Fed.R.Civ.P. 41
advisory committee's note to 1937 Adoption. As noted
above, the FLSA itself is silent on the issue. One district
court in our Circuit found that this silence supports the
conclusion that the FLSA is not an “applicable federal statute”

within the meaning of Rule 41, Picerni v. Bilingual Seit
& Preschool Inc., 925 F. Supp.2d 368, 375 C2.D.N.Y.2013)
(“[W]hile the FLSA expressly *205 authorizes an individual
or collective action for wage violations, it does not condition
their dismissal upon court approval. The absence of such a
requirement is a strong indication that Congress did not intend
it, as it has expressly conditioned dismissals under other
statutes upon court approval.”). The Picerni court concluded
that:

**§ Nothing in Brooklyn Savings,
Gangi, or any of their reasoned
progeny expressly holds that the FLSA
is one of those Rule 41—exempted
statutes. For it is one thing to say
that a release given to an employer
in a private settlement will not, under
certain circumstances, be enforced
in subsequent litigation—that is the
holding of Brooklyn Savings and
Gangi—it is quite another to say that
even if the parties want to take their
chances that their settlement will not
be effective, the Court will not permit
them to do so.

id, at 373.

The Picerni court also noted that “the vast majority of FLSA
cases ... are simply too small, and the employer's finances
too marginal, to have the parties take further action if the
Court is not satisfied with the settlement.” Jd. at 377. Thus,
the Picerni court concluded, “the FLSA is not one of the
qualifying statutes that fall within the exemption from Rule
41.” Id. at 375; see also Lima v. Hatsuhana of USA, Inc.,

Jan. 16, 2014) (indicating a willingness to follow Picerni but
declining to do so given the inadequacy of the parties’ briefing
on the issue),

Seemingly unpersuaded by Picerni, the majority of district
courts in our Circuit continue to require judicial approval
of private FLSA settlements. See, e.g., Lopez v. Nights of
Cabiria, LIC, — F Supp.3d , No. 14—-ev—-1274 (LAK),
2015 WL 1455689, at *3 (S.D.N.Y. March 30, 2015) (“Some
disagreement has arisen among district courts in this circuit as
to whether such settlements do in fact require court approval,
or may be consummated as a matter of right under Rule 41.
The trend among district courts is nonetheless to continue
subjecting FLSA settlements to judicial scrutiny.”) (citation

 

 

 
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 7 of 8 PagelD #:45

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

omitted); Armenta v. Dirty Bird Grp., LLC. No. 13ev4603,
2014 WL 3344287, at *4 (S.D.N.Y. June 27, 2014) (same)
(collecting cases), Archer v. TNT USA Inc., 12 F Supp.3d 373,
384 n. 2 (E.D.N.Y.2014) (same); Files, 2013 WL 1874602,

In Socias v. Vornado Realty L.P., the district court explained
its disagreement with Picerni:

Low wage employees, even when
represented in the context of a pending
often face extenuating
economic and social circumstances
and lack equal bargaining power;
therefore, they are more susceptible
to coercion or more likely to accept
unreasonable, discounted settlement
offers quickly. In recognition of this
problem, the FLSA is distinct from all
other employment statutes.

lawsuit,

297 F.R.D. 38, 40 (E.D.N.Y.2014). The Socias court further
noted that “although employees, through counsel, often
voluntarily consent to dismissal of FLSA claims and, in
some instances, are resistant to judicial review of settlement,
the purposes of FLSA require that it be applied even to
those who would decline its protections.” /d. at 41 (internal
quotation marks, alteration, and emphasis omitted). Finally,
the Socias court observed that judicial approval furthers
the purposes of the FLSA, because “[w]ithout judicial
oversight, ... employers may be more inclined to offer, and
employees, even when represented by counsel, may be more
inclined to accept, private settlements that ultimately are
*206 cheaper to the employer than compliance with the
Act.” Id.; see also Armenta, 2014 WL 3344287, at *4 (“Taken
to its logical conclusion, Picerni would permit defendants to
circumvent the FLSA's ‘deterrent effect’ and eviscerate FLSA
protections.”).

“6 [3] [4] [5]
above, read in light of the unique policy considerations
underlying the FLSA, place the FLSA within Rule 41's
“applicable federal statute” exception. Thus, Rule 41a)
(1)(A)Gi) stipulated dismissals settling FLSA claims with
prejudice require the approval of the district court or the
DOL to take effect. Requiring judicial or DOL approval of
such settlements is consistent with what both the Supreme
Court and our Court have long recognized as the FLSA's
underlying purpose: “to extend the frontiers of social progress
by insuring to all our able-bodied working men and women

We conclude that the cases discussed

a fair day's pay for a fair day's work.” 4.H. Phillips, Ine.
v. Walling, 324 US. 490, 493, 65 S.Ct. 807, 89 LEd.
1095 (1945) (internal quotation marks omitted). “[T]hese
provisions were designed to remedy the evil of overwork
by ensuring workers were adequately compensated for long
hours, as well as by applying financial pressure on employers
to reduce overtime.” Chao v. Gotham Registry, Inc., 514 F.3d
280, 285 (2d Cir.2008) (internal quotation marks omitted).
Thus, “[i]n service of the statute's remedial and humanitarian
goals, the Supreme Court consistently has interpreted the
Act liberally and afforded its protections exceptionally broad
coverage.” Je. at 285.

Examining the basis on which district courts recently rejected
several proposed FLSA settlements highlights the potential
for abuse in such settlements, and underscores why judicial
approval in the FLSA setting is necessary. In Nights of
Cabiria, the proposed settlement agreement included (1) “a
battery of highly restrictive confidentiality provisions ... in
strong tension with the remedial purposes of the FLSA;” (2)
an overbroad release that would “waive practically any
possible claim against the defendants, including unknown
claims and claims that have no relationship whatsoever to
wage-and-hour issues;” and (3) a provision that would set
the fee for plaintiffs attorney at “between 40 and 43.6
percent of the total settlement payment” without adequate -
documentation to support such a fee award. 2015 WL
1455689, at *1--7. In Guareno v. Vincent Perito, Inc., the
district court rejected a proposed FLSA settlement in part
because it contained a pledge by plaintiffs attorney not
to “represent any person bringing similar claims against
Defendants.” No. 14cv1635, 2014 WL 4953746, at *2
(S.D.N.Y. Sept.26, 2014). “Such a provision raises the specter
of defendants settling FLSA claims with plaintiffs, perhaps
at a premium, in order to avoid a collective action or
individual lawsuits from other employees whose rights have
been similarly violated.” Jd; see also, eg., Nall v. Mal-
Motels, Inc., 723 F.3d 1304, 1306 (11th Cir.2013) (employee
testified she felt pressured to accept employer's out-of-court
settlement offer because “she trusted [the employer] and
she was homeless at the time and needed money”) (internal
quotation marks omitted); Wasker v. Vital Recovery Servs.,
Inc., 300 F.R.D, 599, 600 n. 4 (N.D.Ga.2014) (“According
to Plaintiffs counsel, twenty-two plaintiffs accepted the
offers of judgment—many for $100—because ‘they are
unemployed and desperate for any money they can find.’ ”).

**7 [6] We are mindful of the concerns articulated in
Picerni, particularly the court's observation that the “vast

 

 
Case: 1:15-cv-10563 Document #: 14-1 Filed: 03/30/16 Page 8 of 8 PagelD #:46

Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2015)

 

2015 WL 4664283, 165 Lab.Cas. P 36,366, 92 Fed.R.Serv.3d 494...

majority of FLSA cases” before it “are simply too small,
and the employer's finances too marginal,” for proceeding
with litigation to make financial sense if the district court
rejects the proposed settlement. *207 925 F.Supp.2d at 377
(noting that FLSA cases tend to “settle for less than $20,000 in
combined recovery and attorneys’ fees, and usually for far less
than that; often the employee will settle for between $500 and
$2000 dollars in unpaid wages.”). However, the FLSA is a
uniquely protective statute. The burdens described in Picerni
must be balanced against the FLSA's primary remedial
purpose: to prevent abuses by unscrupulous employers, and
remedy the disparate bargaining power between employers
and employees. See Brooklyn Sav. Bank, 324 U.S. at 706-07,
63 S.Ct. 895, As the cases described above illustrate, the need

Footnotes

for such employee protections, even where the employees are
represented by counsel, remains.

CONCLUSION

For the reasons given above, we affirm and remand for further
proceedings consistent with this opinion.

All Citations

796 F.3d 199, 2015 WL 4664283, 165 Lab.Cas. P 36,366, 92
Fed.R.Serv.3d 494, 25 Wage & Hour Cas.2d (BNA) 138

1

Pursuant to Section 216(c) of the FLSA, the Secretary of Labor has the authority to “supervise the payment of the unpaid
minimum wages or the unpaid overtime compensation owing to any employee or employees under” the FLSA. 29 U.S.C.
§ 216(c). “[T]he agreement of any employee to accept such payment shall upon payment in full constitute a waiver by
such employee of any right he may have ... to such unpaid minimum wages or unpaid overtime compensation and”
liquidated damages due under the FLSA. /d.

2 As it is not before us, we leave for another day the question of whether parties may settle such cases without court
approval or DOL supervision by entering into a Rule 41(a)(1)(A) stipulation without prejudice.

3 Because this appeal was certified before the parties presented the district court with evidence to support their proposed
settlement, we express no opinion as to whether a bona fide dispute exists here, or what the district court must consider
in deciding whether to approve the putative settlement of Cheeks’ claims.

4

Other Circuits agree with the Eleventh Circuit's conclusion that waiver of a FLSA claim ina private settlement is not valid.
Copeland v. ABB, inc., 521 F.3d 1010, 1014 (8th Cir.2008) (“FLSA rights are statutory and cannot be waived"); see also
Whiting v. Johns Hopkins Hospital, 680 F.Supp.2d 750, 753 (D.Md.2010) affd Whiting v. The Johns Hopkins Hosp., 416
Fed.Appx. 312 (4th Cir.2011) (same); Walton v. United Consumers Club, Inc., 786 F.2d 303, 306 (7th Cir. 1986) (same).

 

End of Decument

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